 ~AO   245B    (Rev. 12/03) Judgment in a Criminal Case
    NCED       Sheet I



                                          UNITED STATES DISTRICT COURT
                          Eastern                                     District of                          North Carolina
           UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                               V.
           TERREY LAMONT FENNER                                               Case Number: 7:09-MJ-1167

                                                                              USM Number:
                                                                              FEDERAL PUBLIC DEFENDER'S OFFICE
                                                                              Defendant's Attorney
THE DEFENDANT:
£i pleaded guilty to count(s)
o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                   Nature of Offense                                                Offense Epded
18:1382                                            TRESPASSING                                                      5/30/2009




       The defendant is sentenced as provided in pages 2 through              _ _4_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
-ti Count(s)    2                                         -ti is      o are    dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any ch~nge of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economIc circumstances.

 Sentencing Location:                                                         4/23/0213
   RALEIGH, NC




                                                                              Name and Title of Judge




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AO 245B         (Rev. 12/03) Judgment in Criminal Case
      NeED      Sheet 2    Imprisonment

                                                                                                           Judgment -   Page   2   of   4
DEFENDANT: TERREY LAMONT                           FENNER
CASE NUMBER: 7:09-MJ-1167


                                                                   IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

 1 DAY WITH CREDIT FOR TIME SERVED



      D	     The court makes the following recommendations to the Bureau of Prisons:




      D	     The defendant is remanded to the custody of the United States Marshal.

      D	     The defendant shall surrender to the United States Marshal for this district

             o	    at   __________ 0                        a.m.    o   pm       on

             o	    as notified by the United States Marshal.

      D	     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

             DIJ   before      p.m. on

             DO    as notified by the United States Marshal.

             o	    as notified by the Probation or Pretrial Services Office.



                                                                        RETURN
[ have executed this judgment as follows:




             Defendant delivered on	                                                          to

a.	                                                      , with a certified copy of this judgment.




                                                                                                        UNITED STATES MARSHAL



                                                                               By
                                                                                                     DEPUTY UNITED STATES MARSHAL




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AO 2458    (Rev. 12/03) Judgment in a Criminal Case
  NCED     Sheet 5 - Criminal Monetary Penalties
                                                                                                                 J udgment   -~   Page     3      of       4
DEFENDANT: TERREY LAMONT                        FENNER
CASE NUMBER: 7:09-MJ-1167
                                                     CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                                                                        Restitution
TOTALS             $ 10.00                                                  $                                        $


 D	   The determination ofrestitution is deferred until                     An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

D	    Thc dcfcndant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximatel)' progortioned payment, unles$ specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is patd.

Name of Payee	                                                                   Total Loss*          Restitution Ordered                Priority or Percentage




                                  TOT:.:A;.:;:L~S	                     _                     $0.00                           $0.00


DO    Restitution amount ordcred pursuant to plea agreement $

c/O   The defendant must pay intcrcst on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D   the interest requirement is waived for the            [] fine        D   restitution.

       D   the interest requirement for the           D   fine     D       restitution is modified as follows:



* Findings for the total amount oflosses are required under Chapters 109A, 110, I lOA, and 113A of Title 18 for offens~s committed on or after
Septemoer 13, 1994, but before April 23, 1996.



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AO 2458      (Rev, 12/03) Judgment in a Criminal Case
    NCED     Sheet 6 -~- Schedule of Payments

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                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A      lit   Lump sum payment of$ _1_0_.0_0                 _ due immediately, balance due

             lit   not later than               5/7/2013           , or
             D     in accordance           D    C,   D D,     [J     E, or    D F below; or

B      D     Payment to begin immediately (may be combined with              DC,     D D, or      D F below); or

C      D     Payment in equal                   (e.g" weekly, monthly, quarterly) installments of $                      over a period of
                          (e.g" months or years), to commence                (e,g" 30 or 60 days) after the date of this judgment; or

D      D     Payment in equal                     (e.g" weekly, monthly, quarterly) installments of $                    over a period of
                           (e,g., months or years), to commence                (e,g" 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E      D     Payment during the term of supervised release will commence within                 (e,g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F      D     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All crIminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D      Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate,




D      The defendant shall pay the cost of prosecution.


D      The defendant shall pay the following court cost(s):


D      The defendant shall forfeit the defendant's interest in the following property to the United States:





Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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